      Case 1:20-cv-07103-JGK Document 47 Filed 09/22/21 Page 1 of 10



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------x
                                                                        )
EDMOND GRANT P/K/A “EDDY GRANT,”                                        )
GREENHEART MUSIC LIMITED (UK), and                                      )
GREENHEART MUSIC LIMITED (Antigua & Barbuda), )                             Civil Action No.
                                                                        )   1:20-cv-07103-JGK
                                    Plaintiffs,                         )
                                                                        )
         -against-                                                      )
                                                                        )
                                                                        )
DONALD J. TRUMP and DONALD J. TRUMP FOR                                 )
PRESIDENT, INC.,                                                        )
                                                                        )
                                    Defendants.                         )
                                                                        )
-----------------------------------------------------------------------x

                MEMORANDUM OF LAW IN OPPOSITION TO
            DEFENDANTS’ SUPPLEMENTAL BRIEF IN SUPPORT OF
                 DEFENDANTS’ MOTION TO DISMISS THE
                 COMPLAINT PURSUANT TO RULE 12(b)(6)

         Plaintiffs respectfully submit this Memorandum of Law in Opposition to

Defendants’ Supplemental Memorandum of Law in Support of Their Motion to

Dismiss (ECF #46), dated September 8, 2021. After briefing on Defendants’ motion

had been completed, this Court directed the parties to submit supplemental briefing to

address the impact of the Second Circuit’s decision in Andy Warhol Foundation for

the Visual Arts, Inc. v. Goldsmith, 2021 WL 3742835 (2d Cir. Aug. 24,

2021)(“Warhol II”), which reversed the decision of this Court in 382 F. Supp. 3d 312

(S.D.N.Y. 2019)(“Warhol I”), a case upon which Defendants here relied heavily in

their initial motion papers.

         In those papers, Defendants insisted to this Court that “Andy Warhol [I] is

directly on point. It is, again, telling, that plaintiffs do not even mention, much less

attempt to distinguish, Andy Warhol.” Defendants’ Reply Memorandum (ECF#27 at


                                                     1
     Case 1:20-cv-07103-JGK Document 47 Filed 09/22/21 Page 2 of 10




5). Defendants believed Warhol I to be so central to their argument, in fact, so

“directly on point,” so incapable of being meaningfully distinguished, that it was the

principal authority they cited for all four of the fair use factors in that Memorandum.

Under the market-harm factor, 17 U.S.C. § 107(4), Warhol I was the only authority

Defendants cited. Id. at 7.

       Following the reversal of Warhol I in Warhol II, Defendants have changed

their tune. They now concede, as they must, that in Warhol II “all four fair use factors

favor [plaintiff] and that the [defendants’ works] are not fair use as a matter of law.”

Defendants’ Supplemental Mem. (ECF #46 at 2). But somehow, rather than seeing

Warhol as being “directly on point,” as they did only a few months ago, Defendants

now ask this Court to believe that “there are significant factual distinctions between

Warhol II and the present case.” Id. (emphasis added). Defendants do not attempt to

explain how, on appeal, with no new factual record, the same set of facts in the same

case has gone from being “directly on point” to being significantly distinguishable, as

if that were even possible. In truth, this Court must recognize that the facts of Warhol

have now been held to favor copyright owners, so Defendants have no use for them

and conveniently deem them distinguishable. The facts have not changed.

       Defendants also assert that “nothing in Warhol II changes the fair use analysis

in this case or affects’ Defendants’ position” that their use is fair as a matter of law.

Id. This is flatly incorrect: the Warhol II decision destroys the fair use argument

Defendants have been making to this Court. To summarize, Defendants’ principal

argument is that because their Animation “adds something new” to the Plaintiffs’

Composition, with a “new aesthetic,” “new expression” or “different character,” it is

                                           2
     Case 1:20-cv-07103-JGK Document 47 Filed 09/22/21 Page 3 of 10




by definition transformative and therefore fair use. Warhol II directly refutes that

argument.

       The Second Circuit in Warhol II holds at *7, for example, that “many

derivative works that ‘add something new’ to their source material would not qualify

as fair use” (emphasis original). Even though alteration of the original work is the

sine qua non of transformativeness, “it does not follow, however, that any secondary

work that adds a new aesthetic or new expression to its source material is necessarily

transformative.” Id. at *6 (emphasis added). In short, the Warhol II court made clear

that notwithstanding Cariou v. Prince, 714 F.3d 694 (2d Cir. 2013), there is no

“bright-line” rule of the sort Defendants here try to foist on this Court, to the effect

that “any secondary work is necessarily transformative as a matter of law if looking at

the works side-by-side, the secondary work has a different character, a new

expression, or employs new aesthetics with distinct creative and communicative

results.” Warhol II at *6 (emphasis original).

       Without such a bright-line rule, Defendants fail to provide any support

whatsoever for dismissal of this action, let alone under Rule 12(b)(6). All they offer is

a repetitive recounting of the ways their Animation allegedly has a “new character”

vis-à-vis the Composition. But as noted above, Warhol II states explicitly that

identifying some such “new character,” while it may be necessary, is not sufficient to

establish fair use. For example, Defendants state in bold italics (ECF#46 at 3) that

the Composition is for musical entertainment and the Animation is for political

commentary, as if that difference in purpose were sufficient to establish fair use, but

the Second Circuit has long recognized that a mere “difference in purpose is not quite

                                           3
     Case 1:20-cv-07103-JGK Document 47 Filed 09/22/21 Page 4 of 10




the same thing as transformation.” Infinity Broadcast Corp. v. Kirkwood, 150 F.3d

104, 108 (2d Cir. 1998)(finding no transformative use, and no fair use, despite

different purpose of defendant’s use). And as the cases cited in Plaintiffs’ initial

Memorandum of Law uniformly recognize, the unauthorized use of a popular song in

a video to promote a political candidate (or denigrate a candidate’s opponent) is not

transformative, Browne v. McCain, 612 F. Supp. 2d 1129 (C.D. Cal. 2009), and is not

fair use, Henley v. DeVore, 733 F. Supp. 2d 1144 (C.D. Cal. 2010).

       Since the facts of this case are so drastically dissimilar from those in any of the

authorities Defendants rely on, such as Cariou, they cannot win this motion to dismiss

unless those cases establish a broad, bright-line rule of law. The Second Circuit in

Warhol II holds explicitly that there is no bright-line rule, see Warhol II at *6 (“fair

use is a context-sensitive inquiry that does not lend itself to simple bright-line rules”).

And Warhol II holds further that any attempt to find such a rule in Cariou “stretches

the [Cariou] decision too far.” Id. Viewing fair use as a context-sensitive inquiry, as

Warhol II instructs, it is clear that the only cases that support Defendants’ position are

miles apart factually, and the cases that are factually identical, like Henley and

Browne, involving the use of songs in promotional videos for political candidates,

favor Plaintiffs. Therefore, the Defendants’ motion to dismiss must be denied.

       Warhol II also supports Plaintiffs’ argument that the Defendants’ use here is

commercial, quoting the Supreme Court’s reasoning in Harper & Row v. Nation

Enters., 471 U.S. 539, 562 (1985) that the “crux of the profit/nonprofit distinction is

whether the user stands to profit from the exploitation of the copyrighted material

without paying the customary price.” Warhol II at *11. Here, the customary price for

                                            4
     Case 1:20-cv-07103-JGK Document 47 Filed 09/22/21 Page 5 of 10




using a popular song in the soundtrack of a promotional video is factual issue that has

yet to be determined through discovery, but as Henley recognizes, it is not zero.

       Regarding the third fair use factor, the amount and substantiality of the portion

used, Warhol II reasons (at *13) that the extent of the unauthorized use in that case

was not reasonable “in relation to [Warhol’s] purpose” because Warhol offered no

explanation why plaintiff Lynn Goldsmith’s photograph of the musician Prince, rather

than any other Prince photo, was necessary to his artistic aims:

       While Warhol presumably required a photograph of Prince to create the Prince
       Series, AWF proffers no reason why he required Goldsmith’s photograph. See
       TCA Television, 839 F.3d at 181-82, 185 (wholesale borrowing of copyrighted
       comedy routine not reasonable where “defendants offer[ed] no persuasive
       justification” for its use).

(Emphasis original).

       Defendants here have likewise offered no explanation, no justification, for

choosing Plaintiffs’ Composition to serve as the soundtrack of a video that they

readily admit is “unrelated to the original.” Def. Mem. (ECF#19 at 8). The amount of

the copying, as in Warhol II, cannot be deemed reasonable in relation to Defendants’

purpose.

       With respect to the fourth fair use factor, which looks to actual or potential

market harm, Warhol II accepted this Court’s conclusion, after discovery, that the

parties’ respective works “occupy distinct markets, at least as far as direct sales are

concerned,” id. at *14, but nonetheless found the fourth factor weighed in the

copyright owner’s favor. First, it recognized that the burden of establishing a lack of

market harm rests with the alleged infringer:




                                           5
     Case 1:20-cv-07103-JGK Document 47 Filed 09/22/21 Page 6 of 10




       Fair use is an affirmative defense; as such, the ultimate burden of proving that
       the secondary use does not compete in the relevant market is appropriately
       borne by the party asserting the defense: the secondary user. See Campbell, 510
       U.S. at 590, 114 S.Ct. 1164 (“Since fair use is an affirmative defense, its
       proponent would have difficulty carrying the burden of demonstrating fair use
       without favorable evidence about relevant markets.”); Infinity Broadcast Corp.
       v. Kirkwood, 150 F.3d 104, 110 (2d Cir. 1998) (“As always, [the secondary
       user] bears the burden of showing that his use does not” usurp the market for
       the primary work); Dr. Seuss Enters., L.P. v. ComicMix LLC, 983 F.3d 443,
       459 (9th Cir. 2020) (“Not much about the fair use doctrine lends itself to
       absolute statements, but the Supreme Court and our circuit have unequivocally
       placed the burden of proof on the proponent of the affirmative defense of fair
       use.”)

Warhol II at *15.

    Defendants here have come forward with no evidence whatsoever with regard to

market harm, or any other fair use consideration; statements of counsel in briefs are

not evidence, and Plaintiffs are not required to negate possible affirmative defenses in

the drafting of a Complaint. Accordingly, the lack of evidence itself precludes

dismissal at this stage, as the Supreme Court reasoned in Campbell when it remanded

for further development of the record even after finding the defendant’s use to be

transformative. Particularly in circumstances such as these, this Court should adhere

to the holdings of the Southern District and the Second Circuit that deem fair use to

be a “highly unlikely” ground on which to grant a motion to dismiss, Graham v.

Prince, 265 F. Supp. 3d 366, 376 (S.D.N.Y. 2017), and that courts should therefore be

“cautious” about doing so. Wright v. Warner Books, 953 F.2d 731 (2d Cir. 1991).

Certainly after Warhol II, the facts of this case do not so clearly favor fair use that a

departure from such caution is warranted.

       Ignoring this Court’s order regarding the scope of supplemental briefing,

Defendants’ Supplemental Memorandum also addresses Brown v. Netflix, Inc., 462 F.


                                            6
     Case 1:20-cv-07103-JGK Document 47 Filed 09/22/21 Page 7 of 10




Supp. 3d 453 (S.D.N.Y. 2020), aff’d 855 F. Appx. 61 (2d Cir. 2021) (“Netflix”) on the

pretext that the Second Circuit’s recent summary affirmance on May 18, 2021

supports Defendants’ argument. It does not.

       Defendants assert (ECF#46 at 4) that Netflix “is far more analogous” to this

case than is Warhol, but these are the same Defendants who claimed Warhol to be

“directly on point” before disavowing it. In fact, Netflix is completely inapposite here

because it does not involve music used as a soundtrack to a promotional video, but

turns entirely on the fact that defendants’ film was a documentary that captured a

burlesque performance in which eight seconds of plaintiff’s song was included in a

bawdy parody, and carefully placed that performance in a context concerning the

revival of burlesque. The Second Circuit’s affirmance, like the Southern District

opinion, dwelt on the self-evident documentary character of the film, almost to the

exclusion of all other considerations:

       Here, the documentary character of the Film fits within those uses identified
       by § 107: The Film provides a commentary on the burlesque art form and its
       resurgence in Portland, Oregon, as well as an exploration of the artistic process
       of the group of dancers on whom the Film centers. The Film does not merely
       re-broadcast the performances; rather, it combines those performances with
       cultural commentary on “topics such as gender, sexuality, and the artistic
       process.” [Citation omitted.] Indeed, it is only after interviewing one of the
       dancers about her views on such matters that the Film then shows a part of that
       dancer's performance wherein she attempts to express these views. It is while
       documenting this performance that the Film incidentally captures this dancer's
       use of the Song as brief background accompaniment to her burlesque act. In
       this context, Defendants’ incidental use of the Song is consistent with the
       Film's nature as a documentary providing commentary and criticism.

855 F. Appx. at 62-63 (emphasis added).




                                           7
     Case 1:20-cv-07103-JGK Document 47 Filed 09/22/21 Page 8 of 10




       Rejecting plaintiff’s contention that the Film was not a documentary, the Court

observed, “the Film has all the hallmarks of a documentary film, including interviews,

commentary interspersed with footage of events, and a narrative voiceover. Further,

Plaintiffs did not allege in their Complaint that the Film is anything but a

documentary.” Id. In other words, whether the defendants’ film was a documentary

was a contested and apparently all-but-dispositive issue in the case. Documentaries

have a long history of being deemed fair use, even when they incorporate music as

part of their criticism and commentary. See, e.g., Lennon v. Premise Media Corp., 556

F. Supp. 2d 310 (S.D.N.Y. 2008)(use of 15-second clip from John Lennon song

“Imagine” in documentary about religious controversy in academia held fair use).

Defendants’ video here is not a documentary, it is an advertisement.

       Further, the filmmaker in Netflix, in the course of documenting burlesque

performers, merely captured a performance in which a small fragment of the

plaintiff’s song – eight seconds – was included as part of the dancer’s own expression

of views about gender and sexuality.        Here the use is more than five times as

extensive, occupies a vastly greater amount of Defendants’ work, and is utterly

“unrelated” to the rest of Defendants’ video, by their own admission.

       Finally, the use of the song by the performer in Netflix was a classic parody, as

defined in and exemplified by the lewd rap song in Campbell, because it ridiculed an

innocent song by placing it in a bawdy, sexualized context. Defendants have

repeatedly conceded that their video is not parody but rather “satire” (ECF #19 at 1),

and Campbell explicitly recognizes that satire is less transformative, and less likely to

qualify as fair use. See Campbell, 510 U.S. at 580-581, “[p]arody needs to mimic an


                                            8
     Case 1:20-cv-07103-JGK Document 47 Filed 09/22/21 Page 9 of 10




original to make its point, and so has some claim to use the creation of its victim's (or

collective victims') imagination, whereas satire can stand on its own two feet and so

requires justification for the very act of borrowing.” Here, unlike the filmmakers in

Netflix, Defendants have offered no justification for using plaintiffs’ Composition,

rather than any other composition, as the musical underscore for their promotional

video. Defendants’ Supplemental Memorandum (ECF #46 at 6) offhandedly equates

“documentary purposes” and “purposes of political satire,” but Campbell and Netflix

refute any such alleged equivalence. Therefore, the affirmance of Netflix does

nothing to support Defendants’ motion to dismiss.

       Moreover, whether the second work is in the form of a documentary, a

“political satire” or anything else, the Second Circuit has held that

       the focus of inquiry is not simply on the new work, i.e., on whether that work
       serves a purpose or conveys an overall expression, meaning, or message
       different from the copyrighted material it appropriates. Rather, the critical
       inquiry is whether the new work uses the copyrighted material itself for a
       purpose, or imbues it with a character, different from that for which it was
       created. [Citation omitted]. Otherwise, any play that needed a character to sing
       a song, tell a joke, or recite a poem could use unaltered copyrighted material
       with impunity, so long as the purpose or message of the play was different
       from that of the appropriated material.

TCA Television Corp. v. McCullom, 839 F.3d 168, 180 (2d Cir. 2016)(emphasis
added).

       Defendants’ entire argument here – the video is fair use because it’s political

satire about Joe Biden and the Composition isn’t – is exactly what the Second Circuit

identified in TCA Television as the “flawed” reasoning of the district court in that

case, which involved the use of a famous comedy routine, “Who’s On First?,” in

defendant’s otherwise unrelated play:



                                            9
    Case 1:20-cv-07103-JGK Document 47 Filed 09/22/21 Page 10 of 10




       This reasoning is flawed in that what it identifies are the general artistic and
       critical purpose and character of the Play. The district court did not explain
       how defendants’ extensive copying of a famous comedy routine was necessary
       to this purpose, much less how the character of the Routine was transformed
       by defendants’ use.

Id. at 179 (emphasis original).

       In sum, TCA Television concluded that

       even if the Play’s purpose and character are completely different from the
       vaudevillian humor originally animating Who’s on First?, that, by itself, does
       not demonstrate that defendants’ use of the Routine in the Play was
       transformative of the original work.

Id. at 180.

       Defendants here ask this Court to adopt this same flawed reasoning. This

court should instead follow the Second Circuit in TCA Television and find that

Defendants’ unnecessary and unexplained use of the Composition is not

transformative.

       For the above reasons, and those set forth in Plaintiffs’ prior submissions in

this case, the Court should deny Defendants’ motion to dismiss and set a schedule for

discovery and further proceedings.

                                     Respectfully submitted,

Dated: September 22, 2021
       New York, New York                  /s/ Brian D. Caplan
                                     Brian D. Caplan
                                     bcaplan@reitlerlaw.com
                                     Robert W. Clarida
                                     rclarida@reitlerlaw.com
                                     REITLER KAILAS & ROSENBLATT LLP
                                     885 Third Avenue
                                     New York New York 10022
                                     (212) 209-3050




                                          10
